           Case 2:12-cr-00195-JLR         Document 62       Filed 07/11/12      Page 1 of 3




01

02

03

04

05

06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. MJ 12-330
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   AARON ADAMS,                         )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Defraud the Government

15 Date of Detention Hearing:     July 11, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant’s past criminal history includes a number of failures to appear for



     DETENTION ORDER
     PAGE -1
          Case 2:12-cr-00195-JLR             Document 62       Filed 07/11/12      Page 2 of 3




01 hearing with resultant bench warrant activity. He failed to meet the requirements of the DOSA

02 sentence requirements of 20 months community custody, and was revoked and sentenced to

03 four months in prison. He was released from custody on July 4, 2012 and ordered to report to

04 DOC the next day. He failed to do so and a warrant was issued, which remains active.

05            2.     Defendant has a history of substance abuse and admits to cocaine use on July 4,

06 2012 after release from DOC custody. He also has mental health issues.

07            3.     Defendant’s proposed release address is problematic, as reported by his DOC

08 officer.

09            4.     Defendant poses a risk of nonappearance due to a history of failing to appear,

10 current substance abuse, mental health issues, poor performance on supervision and an active

11 bench warrant. He poses a risk of danger due to criminal history, which includes a number of

12 assault charges, substance abuse and mental health issues.

13            5.     There does not appear to be any condition or combination of conditions that will

14 reasonably assure the defendant’s appearance at future Court hearings while addressing the

15 danger to other persons or the community.

16 It is therefore ORDERED:

17      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

18            General for confinement in a correction facility separate, to the extent practicable, from

19            persons awaiting or serving sentences or being held in custody pending appeal;

20      2. Defendant shall be afforded reasonable opportunity for private consultation with

21            counsel;

22      3. On order of the United States or on request of an attorney for the Government, the



     DETENTION ORDER
     PAGE -2
         Case 2:12-cr-00195-JLR          Document 62       Filed 07/11/12      Page 3 of 3




01        person in charge of the corrections facility in which defendant is confined shall deliver

02        the defendant to a United States Marshal for the purpose of an appearance in connection

03        with a court proceeding; and

04     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

05        for the defendant, to the United States Marshal, and to the United State Pretrial Services

06        Officer.

07        DATED this 11th day of July, 2012.

08

09                                                      A
                                                        Mary Alice Theiler
10                                                      United States Magistrate Judge

11

12

13

14

15

16

17

18

19

20

21

22



     DETENTION ORDER
     PAGE -3
